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 1 Francesco Benavides, CSBN 258924
   Law Offices of Francesco Benavides
 2       1990 N. California Blvd. Suite 20
 3       Walnut Creek, CA 94596
         Tel: (925) 222-7071
 4       Fax: (925) 522-5306
 5       Email: francesco@benavidesdisabilitylaw.com

 6 Attorney for Plaintiff
 7 FERNANDO HERNANDEZ
 8
                             UNITED STATES DISTRICT COURT
 9
                         CENTRAL DISTRICT OF CALIFORNIA
10
                                   WESTERN DIVISION
11
12 FERNANDO HERNANDEZ,                     Case No. 2:21-cv-00373-ADS
13
          Plaintiff,                       ORDER FOR THE AWARD AND
14                                         PAYMENT OF ATTORNEY FEES
15               v.                        AND EXPENSES PURSUANT TO THE
                                           EQUAL ACCESS TO JUSTICE ACT
16 KILOLO KIJAKAZI, Acting
17 Commissioner of Social Security,
18              Defendant.
19
20        Based upon the parties’ Stipulation for the Award and Payment of Equal Access

21 to Justice Act Fees and Expenses, IT IS ORDERED that fees and expenses in the
22 amount of $4,200.42 as authorized by 28 U.S.C. § 2412 be awarded subject to the terms
23 of the Stipulation.
24 DATE:________________
         October 20, 2021                ____________________________________
                                             /s/ Autumn D. Spaeth
25                                       HON. AUTUMN D. SPAETH
                                         UNITED STATES MAGISTRATE JUDGE
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